                Case 8:23-bk-12070-TA                   Doc 1 Filed 10/10/23 Entered 10/10/23 11:27:49                                     Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                RAVCO CONSTRUCTION, INC.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1340 W. Collins
                                  Orange, CA 92867
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    RAVCO CONSTRUCTION, INC.                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2362

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 8:23-bk-12070-TA                          Doc 1 Filed 10/10/23 Entered 10/10/23 11:27:49                                       Desc
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Debtor    RAVCO CONSTRUCTION, INC.                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                      Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                           Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                   Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                   Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   RAVCO CONSTRUCTION, INC.                                                  Case number (if known)
         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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                                                         October 10, 2023
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               Case 8:23-bk-12070-TA                                         Doc 1 Filed 10/10/23 Entered 10/10/23 11:27:49                                                                   Desc
                                                                             Main Document    Page 8 of 60
 Fill in this information to identify the case:

 Debtor name            RAVCO CONSTRUCTION, INC.

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           922,088.67

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           922,088.67


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,604,067.25


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,604,067.25




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
            Case 8:23-bk-12070-TA                   Doc 1 Filed 10/10/23 Entered 10/10/23 11:27:49                                           Desc
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Fill in this information to identify the case:

Debtor name         RAVCO CONSTRUCTION, INC.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Pacific Western Bank                              Checking                              3825                                    $48,542.99




          3.2.     Commercial Bank                                   Checking                              0341                                    $40,756.44



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $89,299.43
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Security deposit on existing lease                                                                                               $7,995.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor        RAVCO CONSTRUCTION, INC.                                                      Case number (If known)
              Name

          Description, including name of holder of prepayment

9.        Total of Part 2.                                                                                                           $7,995.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:       Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   493,405.66       -                                   0.00 = ....                $493,405.66
                                       face amount                            doubtful or uncollectible accounts




          11b. Over 90 days old:                      282,847.29       -                           17,740.71 =....                    $265,106.58
                                       face amount                            doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                        $758,512.24
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:       Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used   Current value of
                                                                           debtor's interest         for current value       debtor's interest
                                                                           (Where available)

39.       Office furniture
          Office tables, desks, miscellaneous                                             $0.00                                              $0.00



40.       Office fixtures
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 2
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Debtor       RAVCO CONSTRUCTION, INC.                                                       Case number (If known)
             Name



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Telephone, computers, printer                                                   $0.00                                             $0.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                 $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    1999 Chevy C3500 Flatbed                                               $0.00                                          $500.00


          47.2.    2014 Chevy Silverado                                                   $0.00                                       $11,000.00


          47.3.    2011 Isuzu NPR                                                         $0.00                                       $23,000.00


          47.4.    1993 Ford F-350 Stakebed                                               $0.00                                             $0.00


          47.5.    1995 GMC Flatbed                                                       $0.00                                        $1,382.00


          47.6.    1998 Chevy Flatbed                                                     $0.00                                          $800.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Jig, jointer, rollaway and tools, miscellaneous                                 $0.00                                       $20,000.00



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor        RAVCO CONSTRUCTION, INC.                                                     Case number (If known)
              Name

           Forklift                                                                      $0.00                                             $9,600.00



51.        Total of Part 8.                                                                                                           $66,282.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 1340 W. Collins
                    Avenue, Orange, CA
                    92867                        Leasehold                               $0.00                                                    $0.00




56.        Total of Part 9.                                                                                                                  $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 4
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Debtor       RAVCO CONSTRUCTION, INC.                                               Case number (If known)
             Name


      Yes Fill in the information below.

                                                                                                             Current value of
                                                                                                             debtor's interest


71.      Notes receivable
         Description (include name of obligor)

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)
         Cross-complaint against De La Casa Services, dba My
         Best Partner                                                                                                   Unknown
         Nature of claim        Breach of Contract
         Amount requested                          $0.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                 $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                          page 5
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Debtor          RAVCO CONSTRUCTION, INC.                                                                            Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $89,299.43

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $7,995.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $758,512.24

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $66,282.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $922,088.67           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $922,088.67




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 6
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Fill in this information to identify the case:

Debtor name          RAVCO CONSTRUCTION, INC.

United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    Whirlpool Corporation                        Describe debtor's property that is subject to a lien                          $0.00                    $0.00
       Creditor's Name

       412 N. Peters Road
       Knoxville, TN 37922
       Creditor's mailing address                   Describe the lien
                                                    UCC-1 Financing Statement
                                                    Is the creditor an insider or related party?

                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       12/22/2014                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  $0.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
             Case 8:23-bk-12070-TA                        Doc 1 Filed 10/10/23 Entered 10/10/23 11:27:49                                                 Desc
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Fill in this information to identify the case:

Debtor name        RAVCO CONSTRUCTION, INC.

United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $9,475.00
          AAA Refinishing Corp.                                                Contingent
          2114 Floyd Street                                                    Unliquidated
          Burbank, CA 91504                                                    Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,758.33
          Acudor Products Inc.                                                 Contingent
          9 Woodland Road, Unit A                                              Unliquidated
          Roseland, NJ 07068                                                   Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,095.82
          Allied Storage Containers, Inc.                                      Contingent
          PO Box 12684                                                         Unliquidated
          Fresno, CA 93778                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $36,350.00
          AMZ Painting & Decorating                                            Contingent
          2160 Barranca Pkwy #1030                                             Unliquidated
          Irvine, CA 92606                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




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3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $8,593.41
         Andy's Glass & Window Co.                                    Contingent
         25751 Jefferson Ave                                          Unliquidated
         Murrieta, CA 92562-6903                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,375.00
         Apollo Inspection Service, Inc.                              Contingent
         2409 Faircross Street                                        Unliquidated
         Torrance, CA 90505                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $94,925.00
         ATI Restoration LLC                                          Contingent
         PO Box 8318                                                  Unliquidated
         Pasadena, CA 91109-8318                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $16,862.17
         Austin Hardwoods & Hardware                                  Contingent
         610 N Santiago St                                            Unliquidated
         Santa Ana, CA 92701                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,400.00
         Brinson Kellys Demotion and Constr.                          Contingent
         6092 San Ysidro Cir                                          Unliquidated
         Buena Park, CA 90620                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         C Johnson Electric                                           Contingent
         2070 Channel Dr                                              Unliquidated
         Ventura, CA 93001                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $8,853.35
         CalBath                                                      Contingent
         1920 E Warner Ave, Suite 3-P                                 Unliquidated
         Santa Ana, CA 92705                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,416.80
         Capital Premium Financing Inc.                               Contingent
         PO Box 660899                                                Unliquidated
         Dallas, TX 75266-0899                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,144.00
         Castlerock Envinronmental, Inc.                              Contingent
         10040 Painter Ave                                            Unliquidated
         Santa Fe Springs, CA 90670                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $550.00
         Chris Venzlaff Fitness                                       Contingent
         16 Chicory Way                                               Unliquidated
         Irvine, CA 92612                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,226.25
         Chubb                                                        Contingent
         Chubb Lockbox #6907                                          Unliquidated
         PO Box 8500                                                  Disputed
         Philadelphia, PA 19178-6907
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Collins Business Center                                      Contingent
         19762 MacArthur Blvd., Suite 300                             Unliquidated
         Irvine, CA 92612                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Lease of 1340 W. Collins Avenue, Orange, CA
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $6,192.25
         Coordinated Glass Systems                                    Contingent
         21717 Plummer Street                                         Unliquidated
         Chatsworth, CA 91311                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         County of Orange                                             Contingent
         Attn: Treasurer-Tax Collector                                Unliquidated
         P.O. Box 1438                                                Disputed
         Santa Ana, CA 92702-1438
                                                                   Basis for the claim: For Notice Purposes
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $9,693.34
         Denault Commercial Supply                                    Contingent
         23281 Antonio Parkway                                        Unliquidated
         Rancho Santa Margarita, CA 92688                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,057.00
         DMV Renewal                                                  Contingent
         PO Box 942897                                                Unliquidated
         Sacramento, CA 94297-0897                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $7,345.00
         Elite Maintenance and Cleaning Serv                          Contingent
         243 Escondido Blvd                                           Unliquidated
         Escondido, CA 92025                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Employment Development Dept.                                 Contingent
         Bankruptcy Group MIC 92E                                     Unliquidated
         P.O. Box 826880                                              Disputed
         Sacramento, CA 94280-0001
                                                                   Basis for the claim: For Notice Purposes
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Essex Property Trust                                         Contingent
         Attention: Thomas Leach                                      Unliquidated
         1100 Park Place, Suite 200                                   Disputed
         San Mateo, CA 94403
                                                                   Basis for the claim: Skye at Bunker Hill Project
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $131,456.68
         Ferguson Enterprises Inc.                                    Contingent
         PO Box 740827                                                Unliquidated
         Los Angeles, CA 90074-0827                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,000.00
         Franchise Tax Board                                          Contingent
         PO Box 942857                                                Unliquidated
         Sacramento, CA 94257                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Franchise Tax Board                                          Contingent
         Bankruptcy Section MS: A-340                                 Unliquidated
         P.O. Box 2952                                                Disputed
         Sacramento, CA 95812-2952
                                                                   Basis for the claim: For Notice Purposes
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,039.72
         Ganahl Lumber Company                                        Contingent
         PO Box 31                                                    Unliquidated
         Anaheim, CA 92815-0031                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,178.79
         General Electric Co.                                         Contingent
         GE Appliance Contract                                        Unliquidated
         PO Box 743574                                                Disputed
         Los Angeles, CA 90074-3574
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,300.00
         Ground Penetrating Radar Systems In                          Contingent
         PO Box 932                                                   Unliquidated
         Toledo, OH 43697                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $394.37
         Gryphon Moulding                                             Contingent
         7089 Belgrave Ave                                            Unliquidated
         Garden Grove, CA 92841                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $63,436.21
         HD Supply Facilities Maintenance                             Contingent
         PO Box 509058                                                Unliquidated
         San Diego, CA 92150-9058                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $768.12
         Hirsch Pipe & Supply                                         Contingent
         PO Box 749441                                                Unliquidated
         Los Angeles, CA 90074-9441                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $20,622.49
         Home Depot Credit Services                                   Contingent
         Dept 32-2541928945                                           Unliquidated
         PO Box 78047                                                 Disputed
         Phoenix, AZ 85062
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $24.00
         Interactive Ideas                                            Contingent
         7275 Murdy Circle                                            Unliquidated
         Huntington Beach, CA 92647                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Internal Revenue Service                                     Contingent
         P.O. Box 7346                                                Unliquidated
         Philadelphia, PA 19101-7346                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: For Notice Purposes
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $22.45
         J&B Materials                                                Contingent
         PO Box 847609                                                Unliquidated
         Los Angeles, CA 90084-7609                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         James M. Reinig                                              Contingent
         The Reinig Living Trust                                      Unliquidated
         2926 Perla                                                   Disputed
         Newport Beach, CA 92660
                                                                   Basis for the claim: For Notice Purposes
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $5,000.00
         Jesse Williams Inc.                                          Contingent
         34645 Judy Lane                                              Unliquidated
         Cathedral City, CA 92234                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $230,750.00
         KBC Painting                                                 Contingent
         PO Box 476                                                   Unliquidated
         Placentia, CA 92871                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $745.20
         KC Cabinet Depot                                             Contingent
         13722 S Normandie Ave                                        Unliquidated
         Gardena, CA 90249                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $4,825.00
         L.U. Electric, Inc.                                          Contingent
         17762 Mitchell North                                         Unliquidated
         Irvine, CA 92614                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $15,245.74
         Langosh Construction                                         Contingent
         19906 Sherman Way                                            Unliquidated
         Winnetka, CA 91306                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,314.98
         Linde Gas & Equipment                                        Contingent
         7000 High Grove Blvd                                         Unliquidated
         Burr Ridge, IL 60527                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $113,579.20
         Lindsey Doors Inc.                                           Contingent
         81-101 Indio Blvd #D-20                                      Unliquidated
         Indio, CA 92201                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Marc S. Homme, APLC                                          Contingent
         PO Box 4250                                                  Unliquidated
         Palm Desert, CA 92261                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $251.92
         Meredith Digital                                             Contingent
         PO Box 15105                                                 Unliquidated
         Santa Ana, CA 92735                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,461.36
         National Construction Rentals                                Contingent
         PO Box 841461                                                Unliquidated
         Los Angeles, CA 90084-1461                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,103.40
         OJ Insulation Industries                                     Contingent
         600 S. Vincent                                               Unliquidated
         Azusa, CA 91702                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $16,296.00
         Patriot Environmental Lab Serv                               Contingent
         1041 South Placential Ave                                    Unliquidated
         Fullerton, CA 92831                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $10,435.21
         Pinnacle Apartment Supply                                    Contingent
         23671 Via del Rio                                            Unliquidated
         Yorba Linda, CA 92887                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,023.69
         ProGroup                                                     Contingent
         17622 Armstrong Ave                                          Unliquidated
         Irvine, CA 92614                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $386,699.50
         Project GoGo USA                                             Contingent
         1728 Tyler Avenue                                            Unliquidated
         South El Monte, CA 91733                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $148,468.77
         R&B Wholesale Distributors Inc.                              Contingent
         2350 S. Milliken Ave                                         Unliquidated
         Ontario, CA 91761                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      RAVCO CONSTRUCTION, INC.                                                        Case number (if known)
            Name

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $39,259.10
         Renovations Plus                                             Contingent
         PO Box 404284                                                Unliquidated
         Atlanta, GA 30384-4284                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         RU DG 258 Bernard Street
         c/o Colliers International                                   Contingent
         Attn: Lou Ann Horton                                         Unliquidated
         255 S Orange Ave, Suite 1300                                 Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Project at Dollar General
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,290.00
         S&M General Maintenance                                      Contingent
         18762 Warren Road                                            Unliquidated
         Riverside, CA 92508                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $131,935.00
         Sample Tile and Stone, Inc.                                  Contingent
         1410 Richardson St                                           Unliquidated
         San Bernardino, CA 92408                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Sares Regis Management Company                               Contingent
         3501 Jamboree Road, Suite 3000                               Unliquidated
         Newport Beach, CA 92660                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Work Agreements 67003152023, 69401062023,
         Last 4 digits of account number                           689042123, 69501062023, 60001052022, 69601062023, 73808172022,
                                                                   69301062023, 69801062023, 69101062023, 69001062023, 74501202023
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $3,200.03
         SC Fuels                                                     Contingent
         PO Box 14014                                                 Unliquidated
         Orange, CA 92863-1401                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $22,646.88
         Sherwin-Williams Co.                                         Contingent
         Accounts Receivable Dept.                                    Unliquidated
         28985 Golden Lantern Street                                  Disputed
         Laguna Niguel, CA 92677-1582
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      RAVCO CONSTRUCTION, INC.                                                        Case number (if known)
            Name

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      Unknown
         SRGMF III 9th Street San Diego LLC                           Contingent
         Sares-Regis Group                                            Unliquidated
         3501 Jamboree Road, Suite 3000                               Disputed
         Newport Beach, CA 92660
                                                                   Basis for the claim: LIT Cortez Hill
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         State Board of Equalization                                  Contingent
         Account Information Group, MIC:29                            Unliquidated
         P.O. Box 942879                                              Disputed
         Sacramento, CA 94279-0029
                                                                   Basis for the claim: For Notice Purposes
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,190.95
         State Farm Insurance Companies                               Contingent
         PO Box 680001                                                Unliquidated
         Dallas, TX 75368-0001                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,115.52
         SunBelt Rentals, Inc.                                        Contingent
         PO Box 409211                                                Unliquidated
         Atlanta, GA 30384-9211                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $610.82
         T-Mobile                                                     Contingent
         PO Box 742596                                                Unliquidated
         Cincinnati, OH 45274-2596                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,881.39
         Tile Elements                                                Contingent
         3320 W MacArthur Blvd                                        Unliquidated
         Santa Ana, CA 92704                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $248.93
         United Rentals, Inc.                                         Contingent
         PO Box 051122                                                Unliquidated
         Los Angeles, CA 90074-1122                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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             Name

3.68      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $25,104.09
          Vista Interior Products, Inc.                                        Contingent
          3334 East Coast Hwy                                                  Unliquidated
          PMB 227                                                              Disputed
          Corona Del Mar, CA 92625
                                                                           Basis for the claim: Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.69      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Wall Craft Inc.                                                      Contingent
          23922 Conestoga Ave                                                  Unliquidated
          Murrieta, CA 92562                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Notice purposes
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.70      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $829.02
          Waste Management                                                     Contingent
          PO Box 541065                                                        Unliquidated
          Los Angeles, CA 90054-1065                                           Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                            0.00
5b. Total claims from Part 2                                                                           5b.   +    $                    1,604,067.25

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        1,604,067.25




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 11
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Fill in this information to identify the case:

Debtor name        RAVCO CONSTRUCTION, INC.

United States Bankruptcy Court for the:      CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal           Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Work Agreement dated
             lease is for and the nature of       01/05/2022 - Agreement
             the debtor's interest                No. 60001052022
                                                                                    CLPF-Remington at Ladera LP
                State the term remaining                                            c/o Sares Regis Management Company
                                                                                    Attn. Bobby Vargas
             List the contract number of any                                        3501 Jamboree Road, Suite 3000
                   government contract                                              Newport Beach, CA 92660


2.2.         State what the contract or           Lease of business
             lease is for and the nature of       premises at 1340 W
             the debtor's interest                Collins Avenue,
                                                  Orange, CA
                State the term remaining          April 30, 2025
                                                                                    Collins Business Center LLC
             List the contract number of any                                        19762 MacArthur Blvd, Suite 300
                   government contract                                              Irvine, CA 92612


2.3.         State what the contract or           Master Agreement
             lease is for and the nature of       dated 08/10/2020 - Skye
             the debtor's interest                at Bunker Hill,

                State the term remaining                                            Essex Property Trust
                                                                                    Attn: Thomas Leach
             List the contract number of any                                        1100 Park Place, Suite 200
                   government contract                                              San Mateo, CA 94403


2.4.         State what the contract or           Avant commercial
             lease is for and the nature of       property
             the debtor's interest

                State the term remaining
                                                                                    Essex Property Trust, Inc.
             List the contract number of any                                        1100 Park Place, Suite 200
                   government contract                                              San Mateo, CA 94403




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 4
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Debtor 1 RAVCO CONSTRUCTION, INC.                                                Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Work Agreement dated
          lease is for and the nature of    03/15/2023 - Agreement
          the debtor's interest             No. 67003152023
                                                                        FG Goldenwest Senior Apartments LP
             State the term remaining                                   c/o Sares Regis Management Company
                                                                        Attn: Doug Gardner
          List the contract number of any                               3501 Jamboree Road, Suite 3000
                government contract                                     Newport Beach, CA 92660


2.6.      State what the contract or        Work Agreement dated
          lease is for and the nature of    01/06/2023 - Agreement
          the debtor's interest             No. 69401062023
                                                                        FG Laguna Niguel Senior Apartments
             State the term remaining                                   c/o Sares Regis Management Company
                                                                        Attn: Doug Gardner
          List the contract number of any                               3501 Jamboree Road, Suite 3000
                government contract                                     Newport Beach, CA 92660


2.7.      State what the contract or        Work Agreement dated
          lease is for and the nature of    01/06/2023 - Agreement
          the debtor's interest             No. 69001062023
                                                                        FG Pasadena Senior Apartments LP
             State the term remaining                                   c/o Sares Regis Management Company
                                                                        Attn: Doug Gardner
          List the contract number of any                               3501 Jamboree Road, Suite 3000
                government contract                                     Newport Beach, CA 92660


2.8.      State what the contract or        Work Agreement dated
          lease is for and the nature of    01/06/2023 - Agreement
          the debtor's interest             No. 69801062023
                                                                        FG Rancho Cucamonga Senior Apts
             State the term remaining                                   c/o Sares Regis Management Company
                                                                        Attn: Doug Gardner
          List the contract number of any                               3501 Jamboree Road, Suite 3000
                government contract                                     Newport Beach, CA 92660


2.9.      State what the contract or        Work Agreement dated
          lease is for and the nature of    01/06/2023 - Agreement
          the debtor's interest             No. 69101062023
                                                                        FG Rancho Santa Margarita Sr. Apts
             State the term remaining                                   c/o Sares Regis Management Company
                                                                        Attn. Doug Gardner
          List the contract number of any                               3501 Jamboree Road, Suite 3000
                government contract                                     Newport Beach, CA 92660




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Debtor 1 RAVCO CONSTRUCTION, INC.                                                Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        Work Agreement dated
          lease is for and the nature of    01/06/2023 - Agreement
          the debtor's interest             No. 69301062023
                                                                        FG Seacliff Senior Apartments LP
             State the term remaining                                   c/o Sares Regis Management Company
                                                                        Attn: Doug Gardner
          List the contract number of any                               3501 Jamboree Road, Suite 3000
                government contract                                     Newport Beach, CA 92660


2.11.     State what the contract or        Work Agreement dated
          lease is for and the nature of    01/06/2023 - Agreement
          the debtor's interest             No. 69501062023
                                                                        FG Temecula Senior Apartments LP
             State the term remaining                                   c/o Sares Regis Management Company
                                                                        Attn: Doug Gardner
          List the contract number of any                               3501 Jamboree Road, Suite 3000
                government contract                                     Newport Beach, CA 92660


2.12.     State what the contract or        Work Agreement dated
          lease is for and the nature of    01/06/2023 - Agreement
          the debtor's interest             No. 69601062023
                                                                        FG Valencia Senior Apartments LP
             State the term remaining                                   c/o Sares Regis Management Company
                                                                        Attn: Doug Gardner
          List the contract number of any                               3501 Jamboree Road, Suite 3000
                government contract                                     Newport Beach, CA 92660


2.13.     State what the contract or        Work Agreement dated
          lease is for and the nature of    04/21/2023 - Agreement
          the debtor's interest             No. 689042123
                                                                        Jacaranda Holdco, LLC
             State the term remaining                                   c/o Sares Regis Management Company
                                                                        Janet Griffith/Taneatha Duncan
          List the contract number of any                               3501 Jamboree Road, Suite 3000
                government contract                                     Newport Beach, CA 92660


2.14.     State what the contract or        Construction Services
          lease is for and the nature of    Agreement dated
          the debtor's interest             12/29/2021
                                                                        LIT Cortez Hill
             State the term remaining       12 months                   c/o Sares-Regis Group
                                                                        Attn. Judy Lam and Karen Thomsen
          List the contract number of any                               3501 Jamboree Road, Suite 3000
                government contract                                     Newport Beach, CA 92660




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Debtor 1 RAVCO CONSTRUCTION, INC.                                                Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.15.     State what the contract or        Service Contract dated
          lease is for and the nature of    05/08/2023
          the debtor's interest

             State the term remaining                                    RU DG 258 Bernard Street
                                                                         c/o Colliers International
          List the contract number of any                                255 S. Orange Ave, Suite 1300
                government contract                                      Orlando, FL 32801


2.16.     State what the contract or        Work Agreement dated
          lease is for and the nature of    01/20/2023 - Agreement
          the debtor's interest             No. 74501202023
                                                                         TA Angelica Apartments LP
             State the term remaining       4 months                     c/o Sares Regis Management Company
                                                                         Attn. Bobby Vargas
          List the contract number of any                                3501 Jamboree Road, Suite 3000
                government contract                                      Newport Beach, CA 92660


2.17.     State what the contract or        Work Agreement dated
          lease is for and the nature of    08/17/2022 - Agreement
          the debtor's interest             No. 73808172022
                                                                         TA Fund XIII Camino Real LP
             State the term remaining                                    c/o Sares Regis Management Company
                                                                         Attn: Doug Gardner
          List the contract number of any                                3501 Jamboree Road, Suite 3000
                government contract                                      Newport Beach, CA 92660




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Fill in this information to identify the case:

Debtor name      RAVCO CONSTRUCTION, INC.

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Derek J. Reinig             1340 W. Collins                                           Collins Business                   D
                                      Orange, CA 92867                                          Center                             E/F       3.16
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         RAVCO CONSTRUCTION, INC.

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Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      For prior year:                                                                     Operating a business                             $4,933,558.94
      From 10/01/2022 to 9/30/2023
                                                                                          Other


      For year before that:                                                               Operating a business                           $12,060,542.20
      From 10/01/2021 to 9/30/2022
                                                                                          Other


      For the fiscal year:                                                                Operating a business                           $14,814,851.37
      From 10/01/2020 to 9/30/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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      Creditor's Name and Address                                   Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                          Check all that apply
      3.1.
             American Express                                       08/22/23                         $11,351.32                Secured debt
                                                                    08/31/23                                                   Unsecured loan repayments
                                                                    07/10/23                                                   Suppliers or vendors
                                                                    09/--/23                                                   Services
                                                                                                                               Other


      3.2.
             Mohela                                                 07/19/2023                         $9,500.00               Secured debt
                                                                                                                               Unsecured loan repayments
                                                                                                                               Suppliers or vendors
                                                                                                                               Services
                                                                                                                               Other


      3.3.
             Collins Business Center                                09/--/2023                       $10,816.95                Secured debt
                                                                                                                               Unsecured loan repayments
                                                                                                                               Suppliers or vendors
                                                                                                                               Services
                                                                                                                               Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                    Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   James Reinig                                           Vehicles                         $38,000.00           2016 Chevy Silverado
                                                                    transferred                                           2018 Mercedes C300
             Father of Derek Reinig                                 as part of a                                          2022 Forest Rim Trailer
                                                                    buyout
                                                                    agreement

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                         Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                          Date action was                Amount
                                                                                                                        taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.
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Debtor       RAVCO CONSTRUCTION, INC.                                                            Case number (if known)




          None.

             Case title                               Nature of case               Court or agency's name and             Status of case
             Case number                                                           address
      7.1.   De La Casa Services, Inc. v.             Civil - Demand for           Orange County Superior                      Pending
             Ravco Construction, Inc.                 Money pending                Court                                       On appeal
             37-2022000037350-CU-CL-CT                before JAMS
                                                                                                                               Concluded
             L

      7.2.   The Sherwin-Williams                     Breach of                    Orange County Superior                      Pending
             Company v. Ravco                         Contract                     Court                                       On appeal
             Construction
                                                                                                                               Concluded
             30-2023-01340736-CL-BC-CJC

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address             Description of the gifts or contributions                  Dates given                          Value

      9.1.   Truth in Love Fellowship                                                                            08/15/2022,
                                                      Cash
                                                                                                                 09/15/2022,
                                                                                                                 10/15/2022,
                                                                                                                 11/15/2022,
                                                                                                                 12/15/2022,
                                                                                                                 01/15/2023,
                                                                                                                 02/15/2023,
                                                                                                                 03/15/2023,
                                                                                                                 04/15/2023,
                                                                                                                 05/15/2023,
                                                                                                                 06/15/2023,
                                                                                                                 07/15/2023,
                                                                                                                 08/15/2023                     $21,500.00

             Recipients relationship to debtor
             In-laws Ministry


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss             Value of property
      how the loss occurred                                                                                                                             lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers


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11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                          value
               Address
      11.1.    Smiley Wang-Ekvall, LLP                                                                                  07/26/2023 -
               3200 Park Center Drive                                                                                   $20,000
               Suite 250                                                                                                08/11/2023 -
               Costa Mesa, CA 92626                       (Includes filing fee)                                         $ 338                    $20,338.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care
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Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Ravco Construction Inc. 401(k) Plan                                                 EIN: P11960

                    Has the plan been terminated?
                       No
                       Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                   Last balance
              Address                                   account number             instrument                  closed, sold,                  before closing or
                                                                                                               moved, or                               transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own




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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To



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      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Toan Nguyen                                                                                                     04/2010-05/2023


      26a.2.        Lisa Madsen                                                                                                     05/2013-06/2023


      26a.3.        Pam Wine                                                                                                        05/2023-06/2023



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Wright Ford & Young                                                                                             08/2019-Present



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Derek J. Reinig
                    1340 W. Collins Ave
                    Orange, CA 92867

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                 % of interest, if
                                                                                                  interest                                   any
      Derek J. Reinig                         1340 W. Collins Ave                                 Chief Executive Officer,                   100
                                              Orange, CA 92867                                    Secretary, Chief Financial
                                                                                                  Officer


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?




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           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                                                                                                          Buyout payments
      .                                                                                                                             re sale of
             James M. Reinig                                                                                    07/2022 -           company/services
                                                      $140,000.00                                               07/2023             provided

             Relationship to debtor
             Father of Derek Reinig


      30.2 Derek J Reinig                                                                                       07/2022-07/20       Salary from July
      .                                               $225,000.10                                               23                  2022 to July 2023

             Relationship to debtor
             Owner/Sole Shareholder


      30.3                                                                                                                          Auto insurance
      .                                                                                                                             payments on
                                                                                                                                    vehicles
             James M. Reinig                                                                                    February/Mar        transferred from
                                                      $3,126.00                                                 ch 2023             the Debtor

             Relationship to debtor
             Father of Derek Reinig


      30.4                                                                                                                          Payments to
      .    James M. Reinig                                                                                      March-Septe         Amex on J.
                                                      $2,000.00                                                 mber 2023           Reinig's behalf

             Relationship to debtor
             Father of Derek Reinig


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Central District of California
 In re       RAVCO CONSTRUCTION, INC.                                                                         Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 20,000.00
             Prior to the filing of this statement I have received                                        $                 20,000.00
             Balance Due                                                                                  $                        0.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]


6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     October 10, 2023                                                         /s/ Kyra E. Andrassy
     Date                                                                     Kyra E. Andrassy
                                                                              Signature of Attorney
                                                                              SMILEY WANG-EKVALL, LLP
                                                                              3200 Park Center Drive, Suite 250
                                                                              Costa Mesa, CA 92626
                                                                              (714) 445-1000 Fax: (714) 445-1002
                                                                              kandrassy@swelawfirm.com
                                                                              Name of law firm
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
Email Address
Kyra E. Andrassy
3200 Park Center Drive, Suite 250
Costa Mesa, CA 92626
(714) 445-1000 Fax: (714) 445-1002
California State Bar Number: 207959 CA
kandrassy@swelawfirm.com




     Attorney for:
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
          RAVCO CONSTRUCTION, INC.                                            ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 7

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Derek Reinig                                                            , the undersigned in the above-captioned case, hereby declare
                  (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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